Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 1 of 91 Page ID
                                   #:69037




                             EXHIBIT 1

                           REDACTED
Case 5:23-cv-00964-SB-E         Document 296-2 Filed 10/11/24        Page 2 of 91 Page ID
                                         #:69038
                                 ATTORNEYS’ EYES ONLY


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA




 BERNADINE GRIFFITH, et al.,                      Case No. 5:23-cv-00964-SB-E
 individually and on behalf of all others
 similarly situated,

                  Plaintiffs,

 v.

 TIKTOK, INC., a corporation;
 BYTEDANCE, INC., a corporation,

                 Defendants.




               EXPERT REBUTTAL REPORT OF ZUBAIR SHAFIQ, PH.D.




                                        October 11, 2024
Case 5:23-cv-00964-SB-E                 Document 296-2 Filed 10/11/24                                   Page 3 of 91 Page ID
                                                 #:69039
                                         ATTORNEYS’ EYES ONLY


                                                    Table of Contents

I.     QUALIFICATIONS AND ASSIGNMENT ........................................................................1

II.    SUMMARY OF REBUTTAL OPINIONS PROFFERED..................................................2

III.   REBUTTAL TO THE SCHNELL RECONSIDERATION REPORT................................6

       A.      TikTok’s Collection of Identifying and Identifiable Information............................6

               a.         TikTok’s Collection of Hashed PII ..............................................................6

               b.         Entropy and Identity Resolution Services....................................................9

               c.         Prevalence of the Use of VPN ...................................................................11

               d.         Identifiability of IP Address, User Agent, and Cookies and
                                           in Two-Day Sample..........................................................12

       B.      TikTok’s Collection of Sensitive Information .......................................................18

       C.      TikTok’s Collection of                                   ....................................................................24

       D.      TikTok’s Collection of                                                                     .................................27

       E.      Timing of Data Collection by Events API .............................................................36

       F.      Probability Calculations and Statistical Extrapolations .........................................37

               a.         Statistical Extrapolations ...........................................................................37

               b.         Mr. Schnell’s Criticisms about Probability Calculations...........................39

       G.      “Provocative” Content Information .......................................................................40

IV.    REBUTTAL TO THE SCHNELL SUMMARY JUDGMENT REPORT ........................45

       A.      The Schnell Summary Judgment Report Fails to Analyze
                         Before Wrongly Concluding that There Is No Evidence of
               Data Collection from Plaintiffs ..............................................................................45

                          i.          Shih ................................................................................................48

                          ii.         Watters ...........................................................................................53

                          iii.        Griffith ...........................................................................................56

       B.      TikTok Controls What Data It Collects Via TikTok Pixel and Events
               API. ........................................................................................................................60


                                                                 ii
Case 5:23-cv-00964-SB-E                   Document 296-2 Filed 10/11/24                                  Page 4 of 91 Page ID
                                                   #:69040
                                           ATTORNEYS’ EYES ONLY


                 a.         Advertisers Generally ................................................................................60

                 b.         RiteAid, Hulu, Etsy, Upwork, Sweetwater, Build-a-Bear .........................68

      C.         The Schnell Summary Judgment Report Mischaracterizes Plaintiffs’
                 Deposition Testimony ............................................................................................72

                 a.         Griffith .......................................................................................................72

                 b.         Watters .......................................................................................................74

                 c.         Shih ............................................................................................................75

      D.         The Schnell Summary Judgment Report’s Conclusions about Lack of
                 Interception Are Unsupported and Contradicted by the Industry-
                 Standard Definition of “Communication” .............................................................76

V.    TIKTOK’S STORAGE AND RETENTION OF NON-TIKTOK USER
      DATA ................................................................................................................................81

VI.   TIKTOK’S USE OF NON-TIKTOK USER DATA .........................................................82




                                                                  iii
Case 5:23-cv-00964-SB-E       Document 296-2 Filed 10/11/24             Page 5 of 91 Page ID
                                       #:69041
                               ATTORNEYS’ EYES ONLY


                                       Table of Figures


 Figure No.                               Description                                Page


     1        TIKTOK-BG-000002069 at -2080                                            11


              https://business-api.tiktok.com/portal/docs?rid=p41a33fdhon&id=
     2                                                                                36
              1771100865818625


              How Private Relay “protect[s] users’ privacy, while maintaining
     3        sufficiently accurate location information to support a personalized    64
              experience on the web”


     4        Full-string URL collected by TikTok Pixel in the HTTP payload           67


     5        The URL collected by TikTok Pixel in the HTTP Referer header            68


     6        Timeseries of transmissions when RiteAid’s website is loaded            80




                                               iv
Case 5:23-cv-00964-SB-E      Document 296-2 Filed 10/11/24            Page 6 of 91 Page ID
                                      #:69042
                              ATTORNEYS’ EYES ONLY


                                   Table of Appendices

 Appendix                                     Description

     A      CV of Zubair Shafiq, Ph. D. (served on September 20, 2024)

            10_11 Supplemented Script for Extracting Unmatched Data in Produced March
     B
            28 and May 21 Processed Data

     C      Pixel Analysis on Random Sample of Websites (served on September 20, 2024)

            10_11 Supplemented                   in Produced March 28 and May 21
     D
            Processed Data

            10_11 Supplemented Unique Website Domains in Produced March 28 and May
     E
            21 Processed Unmatched Data

            10_11 Supplemented Unique                     in Produced March 28 and May 21
     F
            Processed Unmatched Data

            10_11 Supplemented Unique                              in Produced March 28
     G
            and May 21 Processed Unmatched Data

     H      Categorization of Plaintiff Internet Artifact Data (served on September 20, 2024)

            10_11 Supplemented Unique                                in Produced March 28
     I
            and May 21 Processed Unmatched Data

            10_11 Supplemented Unique                               in Produced March 28
     J
            and May 21 Processed Unmatched Data

            10_11 Supplemented Script for Data Containing                                 in
     K
            Produced March 28 and May 21 Processed Unmatched Data

            10_11 Supplemented Average and Standard Deviation of Events Per 3p Cookie
     L
            in Produced March 28 and May 21 Processed Unmatched Data

            10_11 Supplemented Script for Extracting                           in Produced
     M
            March 28 and May 21 Processed Unmatched Data

            Privacy Policies of Top Websites in Produced March 28 and May 21 Processed
     N
            Unmatched Pixel Data (served on September 20, 2024)




                                             v
Case 5:23-cv-00964-SB-E    Document 296-2 Filed 10/11/24          Page 7 of 91 Page ID
                                    #:69043
                            ATTORNEYS’ EYES ONLY


            URL Classification of 10,000 Random URL Samples from Produced March 28
     O
            and May 21 Processed Unmatched Pixel Data (served on September 20, 2024)

                                             in Produced March 28 and May 21 Processed
     P
            Unmatched Pixel Data (served on September 20, 2024)

            Script for Extracting Unique URLs in Produced March 28 and May 21 Processed
     Q
            Unmatched Pixel Data (served on September 20, 2024)

            Supplemented URLs in
     R              March 28 and May 21 Processed Unmatched Pixel Data (served on
            September 20, 2024 and supplemented on September 30, 2024)

            “Vignette” Analysis of TikTok’s Collection of Data on One Non-TikTok User
     S
            on March 28, 2024 and May 21, 2024 (served on September 20, 2024)




                                          vi
Case 5:23-cv-00964-SB-E         Document 296-2 Filed 10/11/24             Page 8 of 91 Page ID
                                         #:69044
                                 ATTORNEYS’ EYES ONLY


I.     QUALIFICATIONS AND ASSIGNMENT

       1.      My name is Zubair Shafiq, Ph.D. I am an Associate Professor of Computer Science

at the University of California-Davis. I have been retained by counsel for Plaintiffs to serve as an

independent expert in this litigation. On June 21, 2024, I submitted the Declaration of Zubair

Shafiq, Ph.D., in Support of Plaintiffs’ Motion for Class Certification (“Opening Class

Certification Declaration”). On July 26, 2024, I submitted the Reply Declaration of Zubair Shafiq,

Ph.D., in Support of Plaintiffs’ Motion for Class Certification (“Reply Class Certification

Declaration”). On September 20, 2024, I submitted the Expert Report of Zubair Shafiq, Ph.D.

(“Opening Report”). On September 30, 2024, I submitted a Declaration in Support of Plaintiffs’

Opposition to Summary Judgment (“Summary Judgment Declaration”). I incorporate by reference

the previous submissions into this Rebuttal Report, except where I have made adjustments to

certain findings in the Opening Report and Summary Judgment Declaration, as I have described

in this Rebuttal Report.

       2.      The Opening Report contained a section outlining my expertise, and my detailed

CV was included as Appendix A to that report. As before, I am compensated at the rate of

$750/hour. My compensation is not dependent on and in no way affects the substance of my

opinions. Nor does my compensation depend on the outcome of this proceeding. I understand that,

should there be any recovery in this case, I will be excluded from any disbursement of funds.

       3.      I understand that on September 20, 2024, TikTok served the Declaration of Ron

Schnell in Support of Defendants’ Motion for Summary Judgment (“Schnell Summary Judgment

Report”). I also understand that on October 5, 2024, TikTok served the Declaration of Ron Schnell

in Support of Defendants’ Opposition to Plaintiffs’ Motion for Reconsideration of the Order

Denying Motion for Class Certification (“Schnell Reconsideration Report”).




                                                 1
Case 5:23-cv-00964-SB-E           Document 296-2 Filed 10/11/24               Page 9 of 91 Page ID
                                           #:69045
                                   ATTORNEYS’ EYES ONLY


        4.       I have been asked by counsel for Plaintiffs to review the Schnell Summary

Judgment Report and the Schnell Reconsideration Report and to render any opinions that I have

concerning it. My analysis and conclusions with respect to that review are set out in this Rebuttal

Report. After submitting my Opening Report on September 20, I, with a team of consultants

working under my supervision, have continued to analyze the two-day sample data and Plaintiffs’

browsing history of websites that use or used the TikTok Pixel or TikTok Events API as of

March 28 and May 21. I report my findings on this continued analysis in this Rebuttal Report.

        5.       In addition to the items identified in the Opening Report, a list of materials reviewed

and relied upon for this rebuttal report are identified in the attached Exhibit A.

        6.       I reserve the right to amend, modify and supplement this Report and the Opening

Report should new or additional information be made available to me.

II.     SUMMARY OF REBUTTAL OPINIONS PROFFERED

        7.       In the Schnell Summary Judgment Report, submitted on September 20, 2024, Mr.

Schnell concluded that




             He did not bother to do so although he would have had plenty of time to review that data

given the fact that the data is in the possession of TikTok. Now confronted with that evidence of




                                                             , which was undertaken in an accelerated

time period given TikTok’s significant delay in producing that data and obstacles presented in


1 Schnell Summary Judgment Report at Section VI header (above ¶ 27).




                                                   2
Case 5:23-cv-00964-SB-E            Document 296-2 Filed 10/11/24            Page 10 of 91 Page ID
                                             #:69046
                                     ATTORNEYS’ EYES ONLY


 allowing Plaintiffs’ access to that data in an efficient manner. 2 Mr. Schnell’s criticisms, presented

 in the Schnell Reconsideration Report, however, reach only marginal issues—



        —and does not and cannot challenge my core findings:



         8.      Rebuttal Opinion No. 1: Mr. Schnell’s argument that TikTok does not collect

 identifying information is meritless, and his criticisms of my analysis does not change my

 underlying finding that TikTok collects identifying information on non-TikTok users. In particular,

 Mr. Schnell’s opinions about the purported privacy protections offered by hashing of plaintext

 email addresses and phone numbers is wrong and contradicted by the warnings of the Federal

 Trade Commission and peer-reviewed computer science research. Mr. Schnell also misconstrues

 my entropy and identifiability analysis by failing to consider the second half of that analysis: that

 identity resolution services match identifiers like IP address, user agent, and cookies to persons or

 households.

         9.      Rebuttal Opinion No. 2: Based on further investigation, including the fact that

 TikTok now uses User Agent Client Hints to collect “high entropy” device information from web

 browsers, I have adjusted my findings                                                    . Even with

 these adjustments, it is my opinion that




 2 See Shafiq Opening Report at Section IX.




                                                   3
Case 5:23-cv-00964-SB-E          Document 296-2 Filed 10/11/24           Page 11 of 91 Page ID
                                           #:69047
                                   ATTORNEYS’ EYES ONLY




                                   .

        10.       Rebuttal Opinion No. 3: I disagree with Mr. Schnell’s criticisms about the IAB

 classification taxonomy and my use of that taxonomy, and my opinion remains unchanged that

 TikTok collects sensitive data on non-TikTok users. My opinion is supported by peer-reviewed

 research in the field of computer science, as well as TikTok’s own internal documents that reflect

 that the very data that Mr. Schnell argues is not private is considered by TikTok to be “private”

 and “protected” data—“even if de-identified, anonymized, or aggregated”—in its regular course

 of business.

        11.       Rebuttal Opinion No. 4: Even accounting for Mr. Schnell’s criticisms about the

 script I wrote




                  a URL need not contain a search term to be sensitive and can indeed be sensitive

 even without a search term embedded in it.

        12.       Rebuttal Opinion No. 5: Even accounting for Mr. Schnell’s criticisms about the




                                                 4
Case 5:23-cv-00964-SB-E           Document 296-2 Filed 10/11/24            Page 12 of 91 Page ID
                                            #:69048
                                    ATTORNEYS’ EYES ONLY




        13.     Rebuttal Opinion No. 6: The Schnell Summary Judgment Report’s assertions that

 “advertisers control the configurations of their websites and what data their web pages disclose via

 the TikTok Pixel or EAPI” 3 ignore fundamental aspects of how TikTok has designed the tools to

 work, ignore TikTok’s own internal documentation about data collection via Pixel that it did not

 disclose to advertisers, and ignore the unrebutted default aspects of both tools. I incorporate by

 reference my analysis and opinions presented in my Reply Class Certification Declaration (Dkt.

 198-2) and in particular paragraphs 24-36 of that Reply Declaration.

        14.     Rebuttal Opinion No. 7: The Schnell Summary Judgment Report’s assertions that

 there is “no indication that the contents of Plaintiffs’ communications were (nor could they be)

 intercepted by TikTok” 4 is based on a faulty understanding of the Pixel and a narrow definition of

 “communication” that is not supported in the field of computer science. In light of the evidence

 that the Pixel collects information even before a webpage finishes loading, as well as the

 commonly accepted understanding of “communication” in computer science as a webpage load

 session rather than a packet, it is my opinion that TikTok intercepts communications between

 website visitors’ browsers and websites.

        15.     Rebuttal Opinion No. 8: I have supplemented my findings on TikTok’s retention

 and use of non-TikTok user data based on documents recently made available for my review.




 3 Schnell Summary Judgment Report at ¶ 17.

 4 Schnell Summary Judgment Report at ¶ 19.




                                                  5
Case 5:23-cv-00964-SB-E                 Document 296-2 Filed 10/11/24                     Page 13 of 91 Page ID
                                                  #:69049
                                          ATTORNEYS’ EYES ONLY


 III.        REBUTTAL TO THE SCHNELL RECONSIDERATION REPORT

             16.        I first offer my opinions on the Schnell Reconsideration Report. To the extent that

 there is overlap between the opinions that Mr. Schnell offers in his Reconsideration Report and

 Summary Judgment Report, I respond to those opinions in this section.

        A.         TikTok’s Collection of Identifying and Identifiable Information

                   a.      TikTok’s Collection of Hashed PII

             17.        Mr. Schnell’s opinions about the security of hashing 5 is wrong.

             18.        First, Mr. Schnell is wrong that “hashes are a form of one-way encryption.” 6 He

 does not cite anything for this faulty understanding. In fact, it is common knowledge in the field

 of computer science that hashing is not encryption. 7 Unless encryption is added on top of hashing,

 hashing does not provide confidentiality. To elaborate, encryption uses a secret key without which

 the encrypted information cannot be reversed. By contrast, there is no secret key involved in the

 hashing of plaintext email addresses or phone numbers as done by TikTok. As I explained in my

 Opening Report and

                          hashing can be easily reversed.

             19.        In fact, with a median capability GPU, calculating all possible hashes to reverse

 around 10 billion emails or phone numbers would take only a few seconds. As demonstrated in

 my Opening Report, phone numbers can be enumerated, and there are approximately 6 billion

 possible US phone numbers based on the North American Numbering Plan (NANP). Likewise,


 5 See Schnell Reconsideration Report at ¶¶ 17, 24-31.

 6 Schnell Reconsideration Report at ¶ 27.

 7 https://www.clickssl.net/blog/difference-between-hashing-vs-encryption (“Hashing emphasizes the integrity

 of the information while Encryption focuses on the confidentiality of the data.”);
 https://www.pingidentity.com/en/resources/blog/post/encryption-vs-hashing-vs-salting.html (explaining that
 encryption converts data into a secure format that only those with the decryption key are allowed to access and
 that data is protected both in transit and at rest, while hashing transform data into a fixed-size string of characters,
 typically used for verifying the integrity of data and securely storing passwords).


                                                            6
Case 5:23-cv-00964-SB-E                Document 296-2 Filed 10/11/24               Page 14 of 91 Page ID
                                                 #:69050
                                         ATTORNEYS’ EYES ONLY


 email addresses can be enumerated based on common naming patterns or sourced from leaked

 email address databases. 8,9 The median GPU can compute approximately 1.8 billion hashes per

 second, 10 which means that it would take only a few seconds to compute hashes of all emails or

 phone numbers. Mr. Schnell exaggerates the resources necessary to reverse hashed email addresses

 and phone numbers.

          20.      Mr. Schnell also has no response to the fact that the Federal Trade Commission

 (FTC) agrees with my opinions regarding hashing and its lack of privacy protection. In my

 Opening Report, I cited the FTC’s warnings for over a decade, and most recently, that “hashes

 aren’t ‘anonymous’ and can still be used to identify users, and their misuse can lead to harm.

 Companies should not act or claim as if hashing personal information renders it

 anonymized.” 11 In fact, according to the FTC, claiming that hashing renders PII anonymous is a

 deceptive claim:

          Hashing has a nice potential benefit: a hash by itself cannot easily be used to guess what
          the original data was. For this reason, companies often use hashing in cases where they are
          uncomfortable writing down or sharing the directly identifying data, but they still want to
          be able to store the data for matching against later. Since the hash
          “2813448ce6316cb70b38fa29c8c64130” appears meaningless and seemingly can’t be
          used to find the original phone number, companies often claim that hashing allows them to
          preserve user privacy.

          This logic is as old as it is flawed – hashes aren’t “anonymous” and can still be used
          to identify users, and their misuse can lead to harm. Companies should not act or
          claim as if hashing personal information renders it anonymized. FTC staff will remain
          vigilant to ensure companies are following the law and take action when the privacy
          claims they make are deceptive. 12

 8 See, e.g., https://haveibeenpwned.com/ (14 billion leaked email addresses).

 9 See, e.g., https://breachdirectory.org/.

 10 See, e.g., https://openbenchmarking.org/test/pts/hashcat-1.1.1 (the SHA hash rate of median GPU is 1.8

 billion hashes per second).
 11 https://www.ftc.gov/policy/advocacy-research/tech-at-ftc/2024/07/no-hashing-still-doesnt-make-your-data-

 anonymous (quoted in Opening Report at ¶ 57).
 12 https://www.ftc.gov/policy/advocacy-research/tech-at-ftc/2024/07/no-hashing-still-doesnt-make-your-data-

 anonymous (emphasis in original).


                                                        7
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24                Page 15 of 91 Page ID
                                              #:69051
                                      ATTORNEYS’ EYES ONLY



         21.      The scientific community also agrees with my opinion that hashing does not offer

 privacy protection. Hashes of predictable or known input, such as email addresses or phone

 numbers, can be trivially reversed. This is called a “rainbow table” approach. A rainbow table is

 essentially a large pre-built collection of hashes for known email addresses and phone numbers.

 Given a hash, one can quickly search the rainbow table for a match. If they find a match, they

 know the original input (e.g., the email address or phone number) without having to guess it or do

 extra work. This means that plain hashes can be easily uncovered using these pre-computed tables

 of hashes. Unless additional security measures like encryption or salting are used (which TikTok

 does not use), hashing provides no protection. 13

         22.      Even Mr. Schnell admits that services like those that I described in my Opening

 Report can reverse hashes of consumers’ email addresses and phone numbers. His argument boils

 down to the fact that the services are not free 14 and that they will not be able to reverse 100% of

 hashes—only 70 to 90% of them. 15

         23.      Finally, in a footnote, Mr. Schnell misleadingly states that “anyone who visits any

 website is giving that website their IP address and User Agent, just based on the way the Internet

 works. This is whether a pixel is in use or not.” 16 To be very clear, when a Pixel is not in use, a

 website visitor is giving just that website—the intended first-party recipient of that information as



 13 See, e.g., Heinrich et al., “Efficiently Recovering Hashed Phone Numbers Leaked via Apple AirDrop,”

 https://encrypto.de/papers/HHSSW21Demo.pdf (“we leverage a custom rainbow table construction to reverse
 SHA-256 hashes of phone numbers in a matter of milliseconds”); Hagen et al., “All the Numbers are US: Large-
 scale Abuses of Contact Discovery in Mobile Messengers,” https://eprint.iacr.org/2020/1119.pdf (“Furthermore,
 we show that currently deployed hashing-based contact discovery protocols are severely broken by comparing
 three methods for efficient hash reversal of mobile phone numbers.”).
 14 Schnell Reconsideration Report at ¶ 32.

 15 Schnell Reconsideration Report at ¶ 29 (Datafinder, 70%), ¶ 30 (Datazapp, 71%), ¶ 31 (The Data Group, up

 to 90%).
 16 Schnell Reconsideration Report at ¶ 39 n.24.




                                                      8
Case 5:23-cv-00964-SB-E               Document 296-2 Filed 10/11/24                    Page 16 of 91 Page ID
                                                #:69052
                                        ATTORNEYS’ EYES ONLY


 evidenced by their navigation to that website—their IP address and User Agent; the website visitor

 is not giving the IP address and User Agent to undisclosed third parties like TikTok.

                       b.       Entropy and Identity Resolution Services

         24.      Mr. Schnell next argues that the “use of the word ‘identifiability’ or (‘identifiable’)

 as it is used in the article Dr. Shafiq cites is used in a different way than he is using it. . . . [A]fter

 a certain amount of entropy bits, it is likely that you could isolate that two visits by the same user

 are just that: the same user. It does not mean that you can tell who that user is, unless that is

 something you already know (such as if that user is already a TikTok account holder).” 17 Mr.

 Schnell ignores the second of the two-step identifiability process I describe in my Opening Report.

 Indeed, he addresses only Paragraphs 73-84 of my opening report while remaining unaddressed

 Paragraphs 85-88, which discussed how “identity resolution services match the identifiers such as

 IP address, user agent, and cookies to persons or households.” 18 In other words, he erects another

 strawman and disagrees with the proposition (which I never made) that every person can be

 identified by his or her IP address alone.

         25.      The following is the opinion that I actually put forth in my Opening Report and that

 went unaddressed by Mr. Schnell. Entropy is a “privacy metric to quantify the risk of

 identifiability” and is used to assess whether a certain set of input information (IP Address, User

 Agent, Cookies) is sufficiently identifiable. 19 Schnell cannot and does not dispute the fact that IP

 Address, User Agent, and Cookies are identifiers given that the amount of entropy in them is far

 greater than 32 bits. 20 Given the undisputed fact that IP Address, User Agent, and Cookies are


 17 Schnell Reconsideration Report at ¶ 33.

 18 Shafiq Opening Report at ¶ 85.

 19 See generally Shafiq Opening Report at ¶¶ 73-84.

 20 See, e.g., Schnell Reconsideration Report at ¶ 34 (“Dr. Shafiq states (correctly) that an IP address is at a

 minimum 32 bits.”).


                                                          9
Case 5:23-cv-00964-SB-E               Document 296-2 Filed 10/11/24             Page 17 of 91 Page ID
                                                #:69053
                                        ATTORNEYS’ EYES ONLY


 identifiers, one can use identity resolution services or data brokers to link the identifiers to persons

 or households. 21

         26.     As I quoted in my Opening Report, the Interactive Advertising Bureau (“IAB”)

 explains in its Identity Solutions Guidance that: “An ID solution is a product or a service that can

 help identify a person and/or household across digital environments . . . or other devices with

 which consumers interact and consume media.” 22 IAB lists the following as “commonly used

 components to build and identity [sic]”:

          •    IP Address                                      •   User agent string
          •    MAC Address                                     •   First-party cookie
          •    Hashed Email Address                            •   Third-party cookie
          •    Telephone number                                •   Link decoration 23


         27.     My Opening Report further identified concrete identity resolution services like

 Experian, Adobe, The Trade Desk, Lotame, Xandr, and Criteo that can link identifiers like the

 above to identities. 24 Mr. Schnell does not address any of these portions of my Opening Report.

         28.     Mr. Schnell’s decision to ignore the availability of identity resolution services and

 data brokers is all the more telling because




 21 See Shafiq Opening Report at ¶ 88.

 22 https://iabtechlab.com/wp-content/uploads/2024/05/Identity-Solutions-Guidance-FINAL.pdf at 14 (quoted

 in Shafiq Opening Report at ¶ 86).
 23 https://iabtechlab.com/wp-content/uploads/2024/05/Identity-Solutions-Guidance-FINAL.pdf at 14-15.

 24 See Shafiq Opening Report at ¶ 88 & Figures 13-18.

 25
      TIKTOK-BG-000002069; see also TIKTOK-BG-000001162 (                      ); TIKTOK-BG-000009921
 (          ; TIKTOK-BG-000643356 at -360 (     .


                                                     10
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24                   Page 18 of 91 Page ID
                                              #:69054
                                      ATTORNEYS’ EYES ONLY




         29.




                      c.       Prevalence of the Use of VPN

         30.      Mr. Schnell states that “at least 31% of all Internet users use VPNs.” 28 This

 statement is misleading because while some Internet users may use a VPN at some point in their

 life, the source nowhere states that these Internet users always or exclusively use VPN. Even if a


 26 TIKTOK-BG-000171763 at -767.

 27 TIKTOK-BG-000171763 at -771.

 28 Schnell Reconsideration Report at ¶ 37 (citing https://surfshark.com/blog/vpn-users).




                                                       11
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24              Page 19 of 91 Page ID
                                               #:69055
                                       ATTORNEYS’ EYES ONLY


 third of Internet users sometimes use VPN, research shows that overall VPN usage remains a tiny

 fraction of all Internet traffic. 29,30

                      d.




                                                                                            Mr. Schnell’s

 observations and analysis overall reinforce my opinion that IP Address and User Agent are

 identifying.

         32.      Google Chrome began implementing a user-agent reduction last year, which means

 that it no longer provides the specific device model and operating system version information that

 is customarily transmitted in the User Agent field. 31 Rather, it is replacing that data that used to be

 found in User Agent with a “default value[,] [which] will always be Android 10 on a model K.” 32

 As an example, the User Agent field for someone using Android Version 14.0.0 on a Samsung

 Galaxy S22 Ultra (SM-S908U) device, and another person using Android Version 12.0.0 on a

 Samsung Galaxy S10 (SM-G973U), will both be [“Android 10; K”].

         33.      This does not mean, however,




 29 Schumann, Luca, Trinh Viet Doan, Tanya Shreedhar, Ricky Mok, and Vaibhav Bajpai. Impact of evolving

 protocols and COVID-19 on internet traffic shares. arXiv:2201.00142 (2022).
 30 Dutkowska-Zuk,
                      Agnieszka, Austin Hounsel, Amy Morrill, Andre Xiong, Marshini Chetty, and Nick
 Feamster. “How and why people use virtual private networks.” In 31st USENIX Security Symposium (USENIX
 Security 22), pp. 3451-3465. 2022.
 31 https://www.chromium.org/updates/ua-reduction/.

 32 https://developers.google.com/privacy-sandbox/blog/user-agent-reduction-android-model-and-version.




                                                      12
Case 5:23-cv-00964-SB-E            Document 296-2 Filed 10/11/24                Page 20 of 91 Page ID
                                             #:69056
                                     ATTORNEYS’ EYES ONLY




                                            I have confirmed by reviewing TikTok Pixel’s publicly

 available source code that TikTok does indeed uses User Agent Client Hints 34 to collect “high

 entropy” device information. 35




         34.




         35.




 33 See, e.g., TIKTOK-BG-000158056 at -057; see also id. at -059 (“



 34 https://developer.mozilla.org/en-US/docs/Web/API/User-Agent_Client_Hints_API (“The User-Agent Client

 Hints API extends Client Hints to provide a way of exposing browser and platform information via User-Agent
 response and request headers, and a JavaScript API.”).
 35 https://analytics.tiktok.com/i18n/pixel/static/main.MTdkNGE4ZTU0MQ.js

 (navigator.userAgentData.getHighEntropyValues([“model”,”platformVersion”]).


                                                     13
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24            Page 21 of 91 Page ID
                                              #:69057
                                      ATTORNEYS’ EYES ONLY




 36 Tr. of Simran Sahni 30(b)(6) Deposition (June 18, 2024) at 173:16-18

                                         ”).
 37 Schnell Reconsideration Report at ¶ 33.

 38




 39



 40




                             TIKTOK-BG-000008030 at -037 (emphasis added).


                                                      14
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24       Page 22 of 91 Page ID
                                               #:69058
                                       ATTORNEYS’ EYES ONLY




 41 See, e.g., Reply Class Certification Report (Dkt. 198-2) at 90-91.




                                                        15
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24                   Page 23 of 91 Page ID
                                              #:69059
                                      ATTORNEYS’ EYES ONLY




 42 See Griffith’s Supplemental Responses to Defendants’ First Set of Interrogatories (Nov. 29, 2023) at Response

 to ROG 11 (p.15).
 43 10_11 Supplemented Appendix D_
                                                     in Produced Processed Data.


                                                       16
Case 5:23-cv-00964-SB-E            Document 296-2 Filed 10/11/24               Page 24 of 91 Page ID
                                             #:69060
                                     ATTORNEYS’ EYES ONLY




 44 10_11 Supplemented Appendix D_               in Produced Processed Data.
 45
                   . See 10_11 Supplemented Appendix D_             in Produced Processed Unmatched
 “Griffith” tab.


                                                   17
Case 5:23-cv-00964-SB-E               Document 296-2 Filed 10/11/24      Page 25 of 91 Page ID
                                                #:69061
                                        ATTORNEYS’ EYES ONLY




 46 See, e.g., TIKTOK-BG-000002930




                               TIKTOK-BG-000008030 at -037




                              TIKTOK-BG-000002977 at -981 (“
                                                           ); TIKTOK-BG-000736841 at -843 (“
                                                                                        ); TIKTOK-
 BG-000009897                                                                         TIKTOK-BG-
 000178768
                                                                   ).
 47 Schnell Reconsideration Report at ¶ 51.

 48 Shafiq Opening Report at n.166.




                                                  18
Case 5:23-cv-00964-SB-E                Document 296-2 Filed 10/11/24              Page 26 of 91 Page ID
                                                 #:69062
                                         ATTORNEYS’ EYES ONLY




 49 See, e.g., Melicher et al., “(Do Not) Track Me Sometimes: Users’ Contextual Preferences for Web Tracking,”

 https://petsymposium.org/popets/2016/popets-2016-0009.pdf (defining sensitive topics as “those which deal
 with financial services, medicine, health, file sharing, insurance or employment”); Ur et al., “Smart, useful,
 scary,          creepy:         perceptions          of         online       behavioral          advertising,”
 https://dl.acm.org/doi/abs/10.1145/2335356.2335362; Leon et al., “What Matters to Users? Factors that Affect
 Users’        Willingness        to      Share         Information      with      Online         Advertisers,”
 https://dl.acm.org/doi/pdf/10.1145/2501604.2501611.
 50 See sources cited supra in n.49.

 51 TIKTOK-BG-003078836 at -836 (emphasis added). I inserted commas between the listed items for ease of

 comprehension.


                                                      19
Case 5:23-cv-00964-SB-E               Document 296-2 Filed 10/11/24                    Page 27 of 91 Page ID
                                                #:69063
                                        ATTORNEYS’ EYES ONLY




         52.       Mr. Schnell also discusses the confidence scores that IAB assigns with its

 categorizations. 54 His criticisms are unfounded, misleading, and reveal his lack of understanding

 of the IAB’s classification API.

         53.       First, Mr. Schnell accuses me simultaneously of (1) “removing” IAB’s confidence

 scores from my output and “fail[ing] to consider them at all” and (2) using too low of a minimum

 confidence score, which according to Mr. Schnell is 10%. 55 Obviously, even in Mr. Schnell’s

 world, both of these things could not be true—I either did not consider confidence scores at all or

 considered them but chose too low of a confidence score as a threshold for my output. In reality,

 neither accusation is true.

         54.       IAB’s category classification is a multi-label classification. 56 In other words, one

 URL can be and often is classified into multiple categories, some sensitive and some not. The

 expressly stated purpose of my analysis was to report whether a URL collected by TikTok and



 52 TIKTOK-BG-000430922 at -922.

 53 TIKTOK-BG-000430922 at -922 (emphasis added).

 54 See Schnell Reconsideration Report at ¶¶ 53-64.

 55 Compare Schnell Reconsideration Report at ¶ 54

            ”), with id. at ¶ 59
                   ”).
 56 Herrera, F., Charte, F., Rivera, A.J., Del Jesus, M.J., Herrera, F., Charte, F., Rivera, A.J. and del Jesus, M.J.,

 2016. Multilabel classification (pp. 17-31). Springer International Publishing.


                                                         20
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24   Page 28 of 91 Page ID
                                              #:69064
                                      ATTORNEYS’ EYES ONLY




 57 Schnell Reconsideration Report at ¶¶ 56-57.

 58 SeeATTORNEYS’ EYES ONLY Appendix D –                               produced with Schnell
 Reconsideration Report on October 5, 2024.
 59 See Schnell Reconsideration Report at ¶ 60.




                                                  21
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24        Page 29 of 91 Page ID
                                              #:69065
                                      ATTORNEYS’ EYES ONLY




         57.     Mr. Schnell also cherry-picks four URLs that he notes were imprecisely classified

 by the API 62 while saying nothing about the




 62 Schnell Reconsideration Report at ¶¶ 61-64.




                                                  22
Case 5:23-cv-00964-SB-E          Document 296-2 Filed 10/11/24   Page 30 of 91 Page ID
                                           #:69066
                                   ATTORNEYS’ EYES ONLY




 63 Appendix O_URL Classification from my Opening Report.




                                                  23
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24   Page 31 of 91 Page ID
                                              #:69067
                                      ATTORNEYS’ EYES ONLY




 64 See Shafiq Summary Judgment Declaration at ¶ 48.

 65 Schnell Reconsideration Report at ¶¶ 65, 72.




                                                       24
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24   Page 32 of 91 Page ID
                                              #:69068
                                      ATTORNEYS’ EYES ONLY




 66 Schnell Reconsideration Report at ¶ 68.

 67



 68 10_11 Supplemented Appendix M_Search Terms.

 69




 70




                                                  25
Case 5:23-cv-00964-SB-E        Document 296-2 Filed 10/11/24   Page 33 of 91 Page ID
                                         #:69069
                                 ATTORNEYS’ EYES ONLY




 71 10_11 Supplemented Appendix M_Search Terms.



 72




 73

                                                       .


                                                  26
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 34 of 91 Page ID
                                    #:69070
                            ATTORNEYS’ EYES ONLY




                                      27
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24                 Page 35 of 91 Page ID
                                              #:69071
                                      ATTORNEYS’ EYES ONLY




 74 Schnell Reconsideration Report at ¶¶ 75-78.

 75 Schnell Reconsideration Report at ¶¶ 79-83.

 76 This criteria was chosen based on Google’s policies for its Gmail addresses

 (https://support.google.com/mail/answer/9211434),



                                                       28
Case 5:23-cv-00964-SB-E            Document 296-2 Filed 10/11/24   Page 36 of 91 Page ID
                                             #:69072
                                     ATTORNEYS’ EYES ONLY




 77 See Shafiq Opening Report at ¶ 69(a)



 78 10_11 Supplemented Appendix
                                                         .


                                               29
Case 5:23-cv-00964-SB-E            Document 296-2 Filed 10/11/24   Page 37 of 91 Page ID
                                             #:69073
                                     ATTORNEYS’ EYES ONLY


         70.




 79 Schnell Reconsideration Report at ¶¶ 106-112.

 80 10_11 Supplemented Appendix
                                                         .
 81 10_11 Supplemented Appendix

 82 10_11 Supplemented Appendix




                                                    30
Case 5:23-cv-00964-SB-E           Document 296-2 Filed 10/11/24   Page 38 of 91 Page ID
                                            #:69074
                                    ATTORNEYS’ EYES ONLY


        71.




 83 10_11 Supplemented Appendix
                                                                               .
 84 10_11 Supplemented Appendix

 85




                                              31
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24   Page 39 of 91 Page ID
                                              #:69075
                                      ATTORNEYS’ EYES ONLY


              b.




 86 86




 88 Schnell Reconsideration Report at ¶¶ 85-86.




                                                  32
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24                  Page 40 of 91 Page ID
                                              #:69076
                                      ATTORNEYS’ EYES ONLY




 89 Schnell Reconsideration Report at ¶ 87.

 90 Schnell Reconsideration Report at ¶¶ 88-89.

 91 In my modified plaintext phone number analysis, I have included only those area codes that appear in the

 North American Numbering Plan (https://nationalnanpa.com/enas/geoAreaCodeNumberReport.do). This list
 excludes toll free numbers, unused area codes, and other area codes that may be reserved for special purposes.
 I have also excluded phone numbers that begin with 0 or 1
 (https://www.nationalnanpa.com/about_us/abt_nanp.html).
 92 10_11 Supplemented Appendix J_




                                                       33
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24   Page 41 of 91 Page ID
                                              #:69077
                                      ATTORNEYS’ EYES ONLY




 93 10_11 Supplemented Appendix

 94 Schnell Reconsideration Report at ¶ 105.




                                                34
Case 5:23-cv-00964-SB-E           Document 296-2 Filed 10/11/24   Page 42 of 91 Page ID
                                            #:69078
                                    ATTORNEYS’ EYES ONLY




 95 10_11 Supplemented Appendix
                                                       .
 96 10_11 Supplemented Appendix
                                                       .


                                              35
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24           Page 43 of 91 Page ID
                                              #:69079
                                      ATTORNEYS’ EYES ONLY


     E.         Timing of Data Collection by Events API

          78.      Mr. Schnell disagrees that “the TikTok Events API is real-time and

 contemporaneous with the loading of the webpage.” 97 In doing so, he misleadingly quotes only a

 portion of TikTok’s own document, stating that “TikTok recommends sending the event . . . as

 soon as it is seen on the advertiser’s server.” 98 The full quote, which I understand TikTok did not

 even dispute at summary judgment, is as follows: Defendants enable and “highly recommend[]”

 to advertisers that use Events API to “send the event in real-time (without batching) as soon as it

 is seen on the advertiser’s server.” 99 Mr. Schnell omitted the key language that TikTok itself highly

 recommends that advertisers send event data “in real-time.” Mr. Schnell’s assertion that the Events

 API does not work in real-time 100 is contradicted by TikTok’s public documentation. Either Mr.

 Schnell is wrong or TikTok’s own public documentation is wrong. My analysis shows that Mr.

 Schnell is wrong.




                                            Fig. 2:
    https://business-api.tiktok.com/portal/docs?rid=p41a33fdhon&id=1771100865818625




 97 Schnell Reconsideration Report at ¶ 113.

 98 Schnell Reconsideration Report at ¶ 115.

 99 See Dkt. 268-3 (Joint Appendix of Facts) at Fact 41.

 100 See Schnell Reconsideration Report at ¶ 116

                                                       ).


                                                       36
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24               Page 44 of 91 Page ID
                                               #:69080
                                       ATTORNEYS’ EYES ONLY


          79.        Finally, Mr. Schnell’s statement that “data that is sent to TikTok from the

 advertisers’ websites” cannot “be sent before the website itself receives it” is a red herring. 101 I

 never contended that Events API intercepts data before the website itself even received it.

     F.         Probability Calculations and Statistical Extrapolations

          80.        Mr. Schnell criticizes the various probability calculations I make throughout the

 Opening Report. 102 Before I address Mr. Schnell’s specific criticisms, I address on a more general

 level what statistical inferences can properly be drawn from the two-day sample and what

 inferences cannot properly be drawn.

                a.      Statistical Extrapolations

          81.        TikTok produced two one-day time samples of non-TikTok user data—what I have

 been calling “two-day sample”—that I analyzed for the purposes of my Report to draw inferences

 about non-TikTok users at large. For example, I used the two one-day time samples to derive

 population-level statistics such as the percentage of non-TikTok user data collected by TikTok that

 contains                                                                                .

          82.        It is appropriate to draw population-level statistics from this time sample of all non-

 TikTok users who were active during those two days. In fact, these statistics cover what TikTok

 has represented as all data from the two days, so they represent the complete data for that time

 period, not merely a sample. If we assume that these two days are representative of the relevant

 time period, then these population-level statistics are statistically also representative of the non-

 TikTok user population over the relevant time period. Since TikTok did not preserve and produce

 all non-TikTok user data over the relevant time period, Plaintiffs have no choice but to assume




 101 See Schnell Reconsideration Report at ¶ 114 (emphasis added).

 102 Schnell Reconsideration Report at ¶¶ 23, 117-129.




                                                         37
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24              Page 45 of 91 Page ID
                                              #:69081
                                      ATTORNEYS’ EYES ONLY


 that the data from these two days is representative of the relevant time period for the purpose of

 drawing population-level statistics.

         83.      By contrast, when analyzing this two one-day time sample of all non-TikTok user

 data, it is noteworthy that the absence of a particular non-TikTok user, e.g., one of the Plaintiffs,

 in this time sample does not necessarily mean that TikTok did not collect data from that Plaintiff.

 In plain terms, the absence of evidence is not evidence of absence. We can compute population-

 level statistics from this this two one-day time sample of all non-TikTok user data, but we cannot

 draw conclusions about specific non-TikTok users. Just because TikTok did not collect data from

 a particular non-TikTok user during those two days does not mean that TikTok did not collect data

 from that non-TikTok user over the relevant time period spanning multiple years. More generally,

 attempting to draw any statistical inferences about a particular non-TikTok user from the two one-

 day time samples would be unsound, an example of the “ecological fallacy.” 103 (Of course, if the

 two-day sample happens to contain actual data from a plaintiff, then it follows that TikTok

 collected data from the plaintiff. That is not a statistical inference, but a direct observation.)

         84.      To illustrate this point, consider a hypothetical researcher studying compliance with

 traffic laws. He obtains a one-week sample of driving data on drivers in the United States. Drivers

 in the sample ran, on average, 0.23 stop signs during that week. Assuming the sample is

 representative (and setting aside various technical statistical issues), the researcher could infer that

 the average US driver runs roughly 1 stop sign per month and 12 stop signs per year. These are

 statistical inferences about the general population of US drivers (with a certain confidence level,

 subject to a margin of error, and so on). But now suppose the researcher wants to know how often




 103 See, e.g., Freedman, “Ecological Inference and the Ecological Fallacy,”

 https://web.stanford.edu/class/ed260/freedman549.pdf.


                                                       38
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24               Page 46 of 91 Page ID
                                              #:69082
                                      ATTORNEYS’ EYES ONLY


 a particular individual, Jones, runs stop signs. In the one-week sample, Jones did not run a single

 stop sign. But it would be erroneous to infer from that sample that Jones never runs a stop sign.

 Similarly, if Jones ran 1 stop sign in the one-week sample, it would be erroneous to infer that Jones

 runs 52 stop signs per year. The one-week sample would not support those types of inferences

 about Jones or other specific individuals.

         85.        The more relevant evidence to support the conclusion that the Plaintiffs represent

 the population of non-TikTok users at large comes not from the two one-day time samples from

 TikTok but rather from their




        demonstrates the generalizability of their experiences to the larger non-TikTok user

 population.                                                              , there might be a concern about

 whether their experience could generalize to all non-TikTok users. However, the Plaintiffs’

 browsing histories show

               b.      Mr. Schnell’s Criticisms about Probability Calculations

         86.        Mr. Schnell provides no basis for his various criticisms, and it is my opinion that

 his say-so is unfounded. For instance, Mr. Schnell states that my calculations “assume that each

 user visits a completely new website every time or rotates in a predictable way between websites


 104 See Appendix R Supplement that was filed with the Court at Dkt. 269-38.




                                                     39
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24                   Page 47 of 91 Page ID
                                               #:69083
                                       ATTORNEYS’ EYES ONLY


 where the Pixel might transmit an e-mail address and websites where the Pixel will never transmit

 an e-mail address.” 105 He also states that my calculations “represent[] an upper bound” and that

 “[i]n reality, each time a user revisits a safe website, they’re essentially ‘wasting’ a visit in terms

 of potential transmission of their e-mail address.” 106 Finally, Mr. Schnell states that my

 calculations “assume a predictable split between safe sites and unsafe sites, which is not

 realistic.” 107 Mr. Schnell offers no additional explanation beyond these confusing sentences which,

 to borrow Mr. Schnell’s own words, I “struggled to understand.” 108 Unlike my report which was

 accompanied by scripts and data outputs that Mr. Schnell could review, however, he did not

 provide any such supporting material beyond his say-so. 109

          87.      In any event, I did not assume that users “rotate in a predictable way” between

 websites or a “predictable split between safe sites and unsafe sites,” whatever that means. All

 probabilities in my Opening Report and in this Rebuttal Report are derived based on TikTok’s

 own sample data.

     G.         “Provocative” Content Information

          88.      Mr. Schnell acknowledges that the data that TikTok collected from non-TikTok

 users in just two days is “provocative” but insists that this “provocative” material cannot be found

 in the URL itself. 110 This is incorrect on at least two levels.


 105 Schnell Reconsideration Report at ¶ 124.

 106 Schnell Reconsideration Report at ¶ 125.

 107 Schnell Reconsideration Report at ¶ 126.

 108 Schnell Reconsideration Report at ¶ 97.

 109 Beyond these three unsupported sentences, Mr. Schnell’s Reconsideration Report is littered with unsupported

 assumptions about online behavior with no supporting citations whatsoever. See, e.g., Schnell Reconsideration
 Report at ¶ 121 (“In the real world, this is demonstrably not the case, and does not consider user behavior at
 all.”), ¶ 124 (“I know from experience (and the data I’ve seen) that people often revisit the same sites.”), ¶ 126
 (“In reality, I know from my experience (and the data I’ve seen) that people’s browsing habits vary widely.”).
 Mr. Schnell leaves to readers to divine what exactly is the “data he’s seen.”
 110 Schnell Reconsideration Report at ¶ 130.




                                                        40
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 48 of 91 Page ID
                                    #:69084
                            ATTORNEYS’ EYES ONLY




                                      41
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 49 of 91 Page ID
                                    #:69085
                            ATTORNEYS’ EYES ONLY




                                      42
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 50 of 91 Page ID
                                    #:69086
                            ATTORNEYS’ EYES ONLY


    •




                                      43
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24             Page 51 of 91 Page ID
                                               #:69087
                                       ATTORNEYS’ EYES ONLY




         90.      Second, Mr. Schnell is wrong when he argues that “[y]ou would have to click on

 the actual link to see what is on the website” and that this “is not part of the data that are sent to

 TikTok.” 111 In making this argument, Mr. Schnell ignores Content Information that TikTok

 automatically collects via Pixel. As explained in my previous declarations and Opening Report,

 TikTok does collect Content Information corresponding to each URL. 112 TikTok’s crawlers and

 event listeners scrape the content of each webpage the Pixel fires on. 113 TikTok’s own internal



 111 Schnell Reconsideration Report at ¶ 130.

 112 See, e.g., Shafiq Opening Class Certification Declaration at ¶ 65.

 113 See Shafiq Opening Class Certification Declaration at ¶¶ 65, 67-71, 78.




                                                        44
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24          Page 52 of 91 Page ID
                                              #:69088
                                      ATTORNEYS’ EYES ONLY




 IV.        REBUTTAL TO THE SCHNELL SUMMARY JUDGMENT REPORT

            92.      After considering Mr. Schnell’s Summary Judgment Report, the conclusions in my

 Opening Report are unchanged. I discuss the flaws in the Schnell Summary Judgment Report and

 the bases of my disagreement with him in more detail below.

       A.         The Schnell Summary Judgment Report Fails to Analyze
                  Before Wrongly Concluding that There Is No Evidence of Data Collection from
                  Plaintiffs

            93.




 114 TIKTOK-BG-000132449.

 115 TIKTOK-BG-000132448.

 116 TIKTOK-BG-000149005 at -006.

 117 TIKTOK-BG-000149005 at -006.

 118




 119 TIKTOK-BG-000149005 at -006.




                                                   45
Case 5:23-cv-00964-SB-E           Document 296-2 Filed 10/11/24           Page 53 of 91 Page ID
                                            #:69089
                                    ATTORNEYS’ EYES ONLY


 evidence of such data-sharing before reaching that conclusion: TikTok’s own data. 120 Indeed, he

 states that he




                                                                                     ” 121 —with no

 mention of TikTok’s own sample data produced in this case. While he states that “[t]hese were

 material provided to me by counsel for Defendants,” Mr. Schnell was aware of the production of

 sample data that TikTok had produced in this case given the rebuttal report that he submitted in

 response to my Opening Class Certification Declaration. It is unclear why he forewent the

 opportunity to investigate the most obvious source of evidence of whether websites shared

 Plaintiffs’ private data with TikTok. Even after I submitted my Opening Report and as part of his

 preparation of his Reconsideration Report, which I discuss in Section III above, Mr. Schnell

 appears not to have looked at TikTok’s sample data itself, but rather looked only at my scripts and

 data outputs, which of course made the billions of rows of TikTok two-day sample data more

 digestible and user-friendly. Now that he has done so, as discussed above, see supra Sec. III.A.d,




         94.      As also stated in my Opening Report (and supplemented in this Report), TikTok’s

 two-day sample data also provided me with a list of more than

 that apparently used the Pixel and/or Events API at least as of March 28, 2024 and May 21, 2024



 120 Schnell Summary Judgment Report at Section VI header (above ¶ 27).

 121 Schnell Summary Judgment Report at ¶ 28.




                                                    46
Case 5:23-cv-00964-SB-E            Document 296-2 Filed 10/11/24                Page 54 of 91 Page ID
                                             #:69090
                                     ATTORNEYS’ EYES ONLY




                          These URLs include ones that the Interactive Advertising Bureau (IAB)

 standard content taxonomy would



           96.    Since submitting my Opening Report on September 20, my team and I have

 continued to analyze Plaintiffs’ browsing histories of websites that use the Pixel or Events API,

 which as I stated in my Opening Report,




 122   Shafiq Opening Report at ¶ 64. 10_11 Supplemented


 123 These histories were attached as Appendix R to the Shafiq Opening Report and supplemented in

                                                                                     . It is my understanding
 that Appendix R Supplement was filed with the Court at Dkt. 269-38.
 124 10_11 Supplemented Appendix B_

 125 Shafiq Opening Report at ¶¶ 65-66.

 126 See Appendix R Supplement that was filed with the Court at Dkt. 269-38.




                                                     47
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 55 of 91 Page ID
                                    #:69091
                            ATTORNEYS’ EYES ONLY




                                      48
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 56 of 91 Page ID
                                    #:69092
                            ATTORNEYS’ EYES ONLY




                                      49
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 57 of 91 Page ID
                                    #:69093
                            ATTORNEYS’ EYES ONLY




                                      50
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 58 of 91 Page ID
                                    #:69094
                            ATTORNEYS’ EYES ONLY




                                      51
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 59 of 91 Page ID
                                    #:69095
                            ATTORNEYS’ EYES ONLY




                                      52
Case 5:23-cv-00964-SB-E           Document 296-2 Filed 10/11/24   Page 60 of 91 Page ID
                                            #:69096
                                    ATTORNEYS’ EYES ONLY




 127 See Files: “SOURCEID_07333 -                                           (produced as
 SHIH-GRIFFITHTT000183), “SOURCEID_07334 -
             (SHIH-GRIFFITHTT000184), “SOURCEID_07334 -
                             (SHIH-GRIFFITHTT000185), “SOURCEID_07337 -
                                  (SHIH-GRIFFITHTT000186).
 128 See JAE Ex. 28 at ¶ 81(a).




                                              53
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 61 of 91 Page ID
                                    #:69097
                            ATTORNEYS’ EYES ONLY




                                      54
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 62 of 91 Page ID
                                    #:69098
                            ATTORNEYS’ EYES ONLY




                                      55
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 63 of 91 Page ID
                                    #:69099
                            ATTORNEYS’ EYES ONLY




                                      56
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 64 of 91 Page ID
                                    #:69100
                            ATTORNEYS’ EYES ONLY




                                      57
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 65 of 91 Page ID
                                    #:69101
                            ATTORNEYS’ EYES ONLY


       113.




                                      58
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 66 of 91 Page ID
                                    #:69102
                            ATTORNEYS’ EYES ONLY




                                      59
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24                 Page 67 of 91 Page ID
                                               #:69103
                                       ATTORNEYS’ EYES ONLY


     B.         TikTok Controls What Data It Collects Via TikTok Pixel and Events API.

                a.      Advertisers Generally

          114.       Mr. Schnell asserts that for both Pixel and EAPI, “advertisers choose what data to

 share with TikTok via the Pixel and EAPI by selecting, designing, and implementing ‘event’

 options. These events set the parameters for what data can be collected from the advertiser’s

 potential customer.” 129 This overlooks the various default types of data that Pixel collects out of

 the box even without the advertisers setting any events or parameters. These defaults include the

                                                                                                       and the

                                                                           all discussed in my Opening and

 Reply Class Certification Declarations and, as to                           , as recognized by Mr. Schnell

 himself. 130

          115.       Mr. Schnell also ignores TikTok’s own documents which make clear that




          116.




 129 Schnell Summary Judgment Report at ¶ 24.

 130 Shafiq Opening Class Certification Declaration at ¶¶ 32-37 and accompanying footnotes; Reply Class

 Certification Declaration at ¶ 19 & nn.3-4; Schnell Class Certification Report at ¶ 41
                                                                        ; Transcript of July 19, 2024 Deposition
 of Ron Schnell at 30:12-14 (“Q.
 131 See generally Tr. of Yun-Feng Wei Deposition (July 14, 2024), at 179:18-181-20.




                                                       60
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24             Page 68 of 91 Page ID
                                              #:69104
                                      ATTORNEYS’ EYES ONLY




 132 TIKTOK-BG-000629566 at -566. I understand that this document was produced in Chinese, and I have been

 provided with a certified translation of the document.
 133 TIKTOK-BG-000629566 at -566.

 134 TIKTOK-BG-000629566 at -567, 568.

 135 TIKTOK-BG-000629566 at -567.

 136 TIKTOK-BG-003073124 at cell C3.




                                                          61
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24                  Page 69 of 91 Page ID
                                              #:69105
                                      ATTORNEYS’ EYES ONLY




           118.   Mr. Schnell fails to recognize that advertisers often lack awareness regarding third-

 party trackers, such as TikTok Pixel, operating on their websites and their data collection practices.

 In a recent peer-reviewed study surveying about four hundred developers, Utz et al. reported “a

 widespread lack of awareness” among website developers. 138 The authors found that the website

 developers “either do not know or are uncertain of the true extent of data collection by the third

 party.” 139 The authors concluded that website developers “often seem to not know or ignore the

 possibility that their visitors’ personal data could be collected for other purposes, or simply trust

 the third-party service to not collect data or to employ adequate privacy protection.” 140 The

 prevalent lack of awareness among website developers concerning data collection by third parties,

 such as TikTok, suggests that website developers often do not even know that their websites are

 using them, let alone properly configuring them and choosing what data to transmit with them.

           119.   Mr. Schnell also overlooks that the default data categories like timestamp, IP

 address, User Agent, Cookies, and certain URLs need not be collected by TikTok just because a

 website uses the TikTok Pixel; TikTok has deliberately and specifically implemented TikTok

 Pixel’s source code to collect these default categories of data. In fact, Mr. Schnell fails to

 acknowledge that other tracking pixels do not always collect these categories of data that TikTok

 deliberately designed its Pixel and Events API to uniformly collect. I elaborate how each of



 137 TIKTOK-BG-003073124 at accompanying comment to cell C3.

 138 Utz, C., Amft, S., Degeling, M., Holz, T., Fahl, S., & Schaub, F. (2023). Privacy Rarely Considered:

 Exploring Considerations in the Adoption of Third-Party Services by Websites. Proceedings on Privacy
 Enhancing Technologies.
 139 Id.

 140 Id.




                                                       62
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24                 Page 70 of 91 Page ID
                                              #:69106
                                      ATTORNEYS’ EYES ONLY


 timestamp, IP address, User Agent, cookies, and URLs need not be collected by TikTok Pixel even

 where websites are configured to transmit that data to TikTok.

         120.    Timestamp: TikTok Pixel automatically includes the timestamp in the payload of

 HTTP POST requests from a website visitor’s web browser to TikTok’s server. Note that HTTP

 requests from a website visitor’s browser to a web server do not always contain timestamp, which

 can be optionally included as a HTTP header. 141 For example, the HTTP requests from the website

 visitor’s web browser to RiteAid’s web server do not contain timestamp in a HTTP header. As

 another example, Apple’s Private Click Measurement (PCM) aims to safeguard privacy “by

 submitting reports to the websites through an anonymization service after a delay,” 142 which

 means that Apple would not be able to even indirectly infer exact timestamps.

         121.    IP Address: TikTok Pixel automatically includes the IP address in the network

 layer header of the HTTP POST request from a website visitor’s web browser to TikTok’s server.

 Note that HTTP requests from a website visitor’s browser to a web server do not have to contain

 the IP address. To elaborate, an IP address could be “relayed” or proxied via an intermediary to

 mask the IP address of the original user. For example, Google’s Safe Browsing service makes use

 of Oblivious HTTP to “hide end users’ IP addresses from Google.” 143 More generally,

 CloudFlare’s Privacy Gateway allows any application or service on the Internet to make use of

 Oblivious HTTP to hide the IP address of website visitors. As another example, Google Analytics




 141
    https://developer.mozilla.org/en-US/docs/Web/HTTP/Headers/Date (“The Date general HTTP header
 contains the date and time at which the message originated.”).
 142 https://blog.mozilla.org/en/mozilla/understanding-apples-private-click-measurement/ (emphasis added).

 143 https://developers.google.com/safe-browsing/reference.




                                                      63
Case 5:23-cv-00964-SB-E            Document 296-2 Filed 10/11/24             Page 71 of 91 Page ID
                                             #:69107
                                     ATTORNEYS’ EYES ONLY


 4, a tracking pixel provided by Google, also does not log or store IP addresses, nor does the iCloud

 Private Relay. 144




      Fig. 3: How Private Relay “protect[s] users’ privacy, while maintaining sufficiently
      accurate location information to support a personalized experience on the web” 145

         122.    User Agent: TikTok Pixel automatically includes the user agent in the payload of

 HTTP POST requests from a website visitor’s web browser to TikTok’s server. More specifically,

 my review of TikTok Pixel’s source code shows that TikTok Pixel purposefully collects the full

 user agent through a JavaScript API called Navigator.userAgent. 146 Note that HTTP requests from

 a website visitor’s browser to a web server do not have to contain user agent. For example, the

 HTTP requests from the website visitor’s web browser to RiteAid’s web server do not contain user

 agent in the HTTP request payload. It is also noteworthy that the collection of user agent in the




 144 https://support.google.com/analytics/answer/12017362;

 https://www.apple.com/privacy/docs/iCloud_Private_Relay_Overview_Dec2021.PDF.
 145 https://www.apple.com/privacy/docs/iCloud_Private_Relay_Overview_Dec2021.PDF.

 146 https://developer.mozilla.org/en-US/docs/Web/API/Navigator/userAgent.




                                                     64
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24                   Page 72 of 91 Page ID
                                              #:69108
                                      ATTORNEYS’ EYES ONLY


 HTTP request payload is distinct from the user agent collected in the HTTP request header. 147

 TikTok Pixel purposefully collects user agent both in the HTTP request payload and in the HTTP

 request header. From my experience, this is atypical.

         123.     Cookies: TikTok Pixel collects three different types of cookies: third-party

 cookies, first-party cookies, and session ID. Note that the HTTP requests from a website visitor’s

 browser to a web server do not have to contain all of these cookies. More specifically, my review

 of TikTok Pixel’s source code shows that TikTok Pixel purposefully collects the first-party cookie

 from the web browser’s cookie jar through a JavaScript API called document.cookie 148 and sends

 it to TikTok’s server in the “anonymous_id” field of the HTTP request payload. 149 Similarly,

 TikTok Pixel’s source code purposefully collects the session ID from the web browser’s session

 storage through a JavaScript API called window.sessionStorage 150 and sends it to TikTok’s server

 in the “session_id” field of the HTTP request payload. 151

         124.     URLs: TikTok Pixel collects the full-string URL and the referrer URL in the

 payload of HTTP POST requests from a website visitor’s web browser to TikTok’s server. More

 specifically, my review of TikTok Pixel’s source code shows that TikTok Pixel purposefully

 collects the full-string URL through a JavaScript API called window.location.href 152 and sends it




 147 https://developer.mozilla.org/en-US/docs/Web/HTTP/Headers/User-Agent.

 148 https://developer.mozilla.org/en-US/docs/Web/API/Window/sessionStorage.

 149 Shafiq Opening Class Certification Declaration at ¶ 62.

 150 https://developer.mozilla.org/en-US/docs/Web/API/Document/cookie.

 151 Shafiq Opening Class Certification Declaration at ¶ 62.

 152
     https://developer.mozilla.org/en-US/docs/Web/API/Window/location (“The Window.location read-only
 property returns a Location object with information about the current location of the document. Though
 Window.location is a read-only Location object, you can also assign a string to it. This means that you can work
 with location as if it were a string in most cases: location = ‘http://www.example.com’ is a synonym of
 location.href         =       ‘http://www.example.com’.”)        TikTok           Pixel       source        code
 (https://analytics.tiktok.com/i18n/pixel/static/main.MWY1ZWZmZjM0MQ.js) uses window.location to
 intercept the URL of the webpage.


                                                       65
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24                Page 73 of 91 Page ID
                                               #:69109
                                       ATTORNEYS’ EYES ONLY


 to TikTok’s server in the “url” field of the HTTP request payload. 153 Similarly, TikTok Pixel’s

 source code purposefully collects the referrer URL through a JavaScript API called

 document.referrer 154 and sends it to TikTok’s server in the “referrer” field of the HTTP request

 payload. 155 It is noteworthy that the collection of these URLs in the HTTP payload is distinct from

 the “Referer” collected by TikTok Pixel in the HTTP request header. 156 This distinction is

 particularly important because the URLs collected by TikTok Pixel through the JavaScript APIs

 circumvent the Referrer-Policy that can be set by website developers to limit the collection of

 URLs by tracking pixels. 157 As shown in the following figure, the full-string URL and the referrer

 URL collected by TikTok Pixel via “url” and “referrer” fields in the HTTP request payload are

 https://www.riteaid.com/shop/benadryl-allergy-25-mg-ultratabs-24-tablets-0033202                     and

 https://www.riteaid.com/shop/catalogsearch/result/?q=benadryl, respectively. However, the URL

 collected by TikTok Pixel in the Referer header is simply https://www.riteaid.com/, which is

 limited due to the Referrer-Policy. 158 In other words, even where the website or browser has a

 Referrer-Policy in place to limit the collection of full-string URLs, TikTok Pixel nonetheless

 purposefully collects the full-string URLs via the “referrer” field in the HTTP request payload.

 This is a purposeful and intentional way in which TikTok designed its Pixel.

         125.     Not all pixels behave this way. There exist other tracking pixels that allow website

 developers to redact collection of certain information in URL. For example, Google Analytics 4




 153 Shafiq Opening Class Certification Declaration at ¶¶ 63, 68.

 154 https://developer.mozilla.org/en-US/docs/Web/API/Document/referrer   (“The Document.referrer property
 returns the URI of the page that linked to this page.”).
 155 Shafiq Opening Class Certification Declaration at ¶¶ 63, 68.

 156 https://developer.mozilla.org/en-US/docs/Web/HTTP/Headers/Referer.

 157 https://developer.mozilla.org/en-US/docs/Web/HTTP/Headers/Referrer-Policy.

 158 https://developer.mozilla.org/en-US/docs/Web/HTTP/Headers/Referrer-Policy.




                                                            66
Case 5:23-cv-00964-SB-E            Document 296-2 Filed 10/11/24           Page 74 of 91 Page ID
                                             #:69110
                                     ATTORNEYS’ EYES ONLY


 provides a data-redaction feature 159 to prevent collection of specific URL query parameters.

 TikTok Pixel does not offer any such feature to website developers. There also exist other tracking

 pixels that warn website developers if they detect collection of personal data via URL. 160 TikTok

 Pixel does not offer any such feature to website developers.




            Fig. 4: Full-string URL collected by TikTok Pixel in the HTTP payload.




 159 https://support.google.com/analytics/answer/13544947.

 160 https://developers.facebook.com/community/threads/312553193608925/.




                                                     67
Case 5:23-cv-00964-SB-E           Document 296-2 Filed 10/11/24               Page 75 of 91 Page ID
                                            #:69111
                                    ATTORNEYS’ EYES ONLY




           Fig. 5: The URL collected by TikTok Pixel in the HTTP Referer header
   (Note that it is not the full-string URL collected by TikTok Pixel in the HTTP payload.)

         126.     I further incorporate by reference the findings and analysis in my Reply Class

 Certification Declaration and, in particular, paragraphs 24-36 of that Reply Declaration.

             b.      RiteAid, Hulu, Etsy, Upwork, Sweetwater, Build-a-Bear

         127.     As stated in my Summary Judgment Declaration, Defendants’ two-day sample data

 reveals that

                                                         . 161 I thus disagree with Mr. Schnell’s opinion

 that these websites “are not configured to share private data about Plaintiffs with TikTok.” 162

         128.     In the two-day sample data, I




 161 See Shafiq Summary Judgment Declaration at ¶¶ 47-48.

 162 Schnell Summary Judgment Declaration at Heading VI above ¶ 27.




                                                    68
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24   Page 76 of 91 Page ID
                                               #:69112
                                       ATTORNEYS’ EYES ONLY




 163 See JAE Ex. 72 (Dkt. 269-42).




                                                 69
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 77 of 91 Page ID
                                    #:69113
                            ATTORNEYS’ EYES ONLY




                                      70
Case 5:23-cv-00964-SB-E   Document 296-2 Filed 10/11/24   Page 78 of 91 Page ID
                                    #:69114
                            ATTORNEYS’ EYES ONLY




                                      71
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24                   Page 79 of 91 Page ID
                                               #:69115
                                       ATTORNEYS’ EYES ONLY




     C.       The Schnell Summary Judgment Report Mischaracterizes Plaintiffs’ Deposition
              Testimony

          130.     The report mischaracterizes Plaintiffs’ deposition testimony, often without any

 citations to their actual deposition transcripts. I correct some of those misrepresentations below.

              a.      Griffith

          131.     Mr. Schnell says, without citation, that “Ms. Griffith visited Etsy’s website around

 June 2018.” 164 To the extent that Mr. Schnell suggests that Griffith visited Etsy only once, such a

 suggestion would be contradicted by her testimony that she visited Etsy between 20-50 times,165




 164 Schnell Summary Judgment Report at ¶ 51.

 165 Tr. of Bernadine Griffith Deposition (June 26, 2024) (“Griffith Tr.”) at 65:15-22.




                                                        72
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24                  Page 80 of 91 Page ID
                                               #:69116
                                       ATTORNEYS’ EYES ONLY


 and her production showing her browsing history and purchases on Etsy since creating her Etsy

 account around June 2018. 166

          132.     Mr. Schnell says, without citation, that Ms. Griffith “has always set cookie blockers

 on.” 167 This ignores that Griffith’s testimony was specific to third-party cookies, which is a

 material detail given TikTok Pixel’s collection of first-party cookies. 168 Further, when pressed on

 whether Griffith “had your cookie blocker on for every single time” 169 of the 500 times she visited

 Hulu, she responded “I don’t know.” 170

          133.     Mr. Schnell also goes on, again without any citations, about how Griffith had a “0

 video” watch history on Hulu even though she doesn’t recall deleting her watch history as Hulu

 allows one to do. 171 To the extent that Mr. Schnell is suggesting that Griffith did not actually watch

 anything on Hulu, such a suggestion would be contradicted by her testimony that she visited Hulu

 approximately 500 times, 172 and that “it’s my belief that I did watch them. Whether or not I

 actually went through the trouble to dig in and try to delete my watch history -- I believe you can.

 I don’t recall actually doing that.” 173




 166 GRIFFITHTT001755- GRIFFITHTT002069; GRIFFITHTT002117.

 167 Schnell Summary Judgment Report at ¶ 90.

 168 Griffith Tr. at 61:13-19 (“Q. And you can you [sic] identify any website that you visited that uses pixel and

 Events API while your web or browser settings were turned on to block third-party cookies? A. Again, I don’t
 know how to separate pixels from APIs, but the websites do include Hulu, Etsy, Rite Aid, Build-A-Bear,
 Sweetwater.” (emphasis added)).
 169 I further note that counsel’s question about “cookie blocker” is an imprecise one. Based on my review of her

 deposition transcript, Griffith testified that she activated the third-party cookie blocker in her web browser by
 configuring browser settings to reject third-party cookies, as opposed to having add-on blocking software. See
 Griffth Tr. 66:15-17 (“Q. When did you put your cookie blockers in place? A. I have it set up through my web
 browser.”).
 170 Griffith Tr. at 64:2-14.

 171 Schnell Summary Judgment Report at ¶ 90.

 172 Griffith Tr. at 63:22-64:5.

 173 Griffith Tr. at 171:16-23.




                                                        73
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24                   Page 81 of 91 Page ID
                                              #:69117
                                      ATTORNEYS’ EYES ONLY


         134.      Finally, Mr. Schnell, citing to an inapposite portion of her deposition, misrepresents

 Griffith’s testimony about her interaction with a cookie banner from her RiteAid visit. 174 In reality,

 she testified that she would click “allow” on Rite Aid’s cookie banner “if that was the only choice

 and I could not proceed.” 175 This testimony does not support Mr. Schnell’s conclusion that Pixel

 could not collect Griffith’s identifying information from her visits to Rite Aid.

              b.       Watters

         135.      Mr. Schnell’s statement that Watters “understands that Etsy collects information,

 partners with third parties and shares data” is incomplete and misleading. In his deposition, Watters

 testified that he was not aware “explicitly what third parties” Etsy shared data with and that “if I

 were to have any issues with the third parties, I can’t object if I don’t know what the third party

 is.” 176 Based on his review of Etsy’s privacy policy presented to him by counsel at his deposition,

 Watters also testified that Etsy “likely” shared data with “Google and Facebook,” which are

 disclosed by name in Etsy’s privacy policy but that he “was not aware explicitly of any other third

 parties because they were not listed.” 177

         136.

                                                  In other words, he engages in the conduct that he

 inaccurately accused me of engaging in, as discussed above. 178 Mr. Schnell’s say-so is




 174 Schnell Summary Judgment Report at ¶ 91.

 175 Griffith Tr. at 222:15-23 (“Q. Have you ever interacted with a cookie banner from – for Rite Aid? A. I may

 have. I don’t remember. Q. Okay. A. Probably. Q. If you did, did you click ‘allow’ in order to access the Rite
 Aid account? A. If that was the only choice and I could not proceed, then that’s what I would click.”).
 176 Tr. of Jacob Watters Leady Deposition (June 25, 2024) (“Watters Tr.”) at 91:14-23.

 177 Watters Tr. at 92:3-10.

 178 Schnell Reconsideration Report at ¶ 51.




                                                       74
Case 5:23-cv-00964-SB-E                  Document 296-2 Filed 10/11/24              Page 82 of 91 Page ID
                                                   #:69118
                                           ATTORNEYS’ EYES ONLY


 contradicted by peer-reviewed computer science research, which classifies data related to

                                 . 179

              c.          Shih

          137.     Mr. Schnell misrepresents that Shih “uses the ‘TikTok for guest’ option. 180 This

 assertion is contradicted by both Shih’s declaration and her deposition testimony. In her

 declaration in support of class certification, Shih stated: “I have also never watched videos on the

 TikTok app or website using the ‘TikTok for Guest’ option.” 181 During her deposition, when

 TikTok’s counsel asked Shih to define what “TikTok for guest” means, Shih responded: “It is my

 understanding that that is a new feature of TikTok that is -- is a way to make an account without

 having -- without video posting purposes. I would just say that all of the -- all of the options here

 basically relate to making an account. I have never made an account with TikTok.” 182

          138.     Mr. Schnell’s statement that Shih “uses ‘fresh browser’ to visit TikTok and the

 other websites at issue” is also inaccurate and misleading. 183 First of all, Mr. Schnell leaves out

 the time period about which Shih was testifying. TikTok’s counsel asked Shih about her browsing

 practice “since you joined this litigation,” and Shih testified that her “practice is to use a fresh

 browser so they can’t glean where I’m coming from other than I clicked the link” in this post-

 litigation time period. 184 In addition, Shih testified that she uses a fresh browser when she visits



 179 See supra at ¶ 48; Melicher et al., “(Do Not) Track Me Sometimes: Users’ Contextual Preferences for Web

 Tracking,” https://petsymposium.org/popets/2016/popets-2016-0009.pdf (defining sensitive topics as “those
 which deal with financial services, medicine, health, file sharing, insurance or employment”).
 180 Schnell Summary Judgment Report at ¶ 93.

 181 Dkt. 177-3 at ¶ 2.

 182 Tr. of Patricia Shih Blough Deposition (June 24, 2024) (“Shih Tr.”), at 230:20-231:5 (emphasis added); see

 also Shih Tr. at 228:24-229:5 (“Q. So the activities that you have had on TikTok, that has been as a guest on
 TikTok? THE WITNESS: It would depend how you would define ‘guest.’” (objection omitted)).
 183 Schnell Summary Judgment Report at ¶ 93.

 184 Shih Tr. at 293:10-294:8.




                                                       75
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24              Page 83 of 91 Page ID
                                              #:69119
                                      ATTORNEYS’ EYES ONLY


 Etsy, Hulu, and Upwork—the websites that she was asked about during her deposition, not all

 websites that use or may use Pixel or Events API.

      D.      The Schnell Summary Judgment Report’s Conclusions about Lack of
              Interception Are Unsupported and Contradicted by the Industry-Standard
              Definition of “Communication”

           139.   I incorporate by reference the findings and analysis in my Opening Class

 Certification Declaration and, in particular, paragraphs 67-71 of that Declaration. I also incorporate

 by reference the findings and analysis in my Reply Class Certification Declaration and, in

 particular, paragraphs 95-102 of that Reply Declaration.

           140.   Mr. Schnell is incorrect that “the Pixel can only collect information from a webpage

 that has loaded.” 185 As I previously explained, 186




                                                     . Thus, TikTok collects the data even if the website

 visitor navigates away from the webpage before the page finishes loading in the browser

 completely. TikTok’s internal documentation confirms




 185 Schnell Summary Judgment Report at ¶ 108.

 186 Shafiq Opening Class Certification Declaration at ¶ 70.

 187 TIKTOK-BG-000008579 at -586.

 188 TIKTOK-BG-003078303 at -308



 189 TIKTOK-BG-000151808 (Depo Ex. 43), at -817; see also Tr. of Becca Wong Depo. (May 17, 2024) at 143:9-

 19




                                                       76
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24                   Page 84 of 91 Page ID
                                               #:69120
                                       ATTORNEYS’ EYES ONLY


         141.      Further, TikTok Pixel’s source code 190 contains instructions to set up listeners for

 events such as “mousedown,” 191 “pointerdown,” 192                        “mouseup,” 193 “pointerup,” 194

 “mousemove,” 195 “pointermove,” 196 “keydown,” 197 and “click.” 198 The listeners set up by TikTok

 Pixel are instantaneously (i.e., in real-time and without any delay) triggered when these events

 occur during the webpage load, allowing TikTok Pixel to intercept movement of the mouse or

 any other pointer device, when keys are pressed, and when buttons are clicked as well as content

 information (e.g., using browser features such as window.location.href 199 to intercept the page




 190 https://analytics.tiktok.com/i18n/pixel/static/main.MWY1ZWZmZjM0MQ.js.

 191 https://developer.mozilla.org/en-US/docs/Web/API/Element/mousedown_event (“The mousedown event is

 fired at an Element when a pointing device button is pressed while the pointer is inside the element.”).
 192 https://developer.mozilla.org/en-US/docs/Web/API/Pointer_events (“Pointer events are DOM events that are

 fired for a pointing device. They are designed to create a single DOM event model to handle pointing input
 devices such as a mouse, pen/stylus or touch (such as one or more fingers).”).
 193 https://developer.mozilla.org/en-US/docs/Web/API/Element/mouseup_event (“The mouseup event is fired at

 an Element when a button on a pointing device (such as a mouse or trackpad) is released while the pointer is
 located inside it.”).
 194 https://developer.mozilla.org/en-US/docs/Web/API/Pointer_events (“Pointer events are DOM events that are

 fired for a pointing device. They are designed to create a single DOM event model to handle pointing input
 devices such as a mouse, pen/stylus or touch (such as one or more fingers).”).
 195 https://developer.mozilla.org/en-US/docs/Web/API/Element/mousemove_event (“The mousemove event is

 fired at an element when a pointing device (usually a mouse) is moved while the cursor’s hotspot is inside it.”).
 196 https://developer.mozilla.org/en-US/docs/Web/API/Pointer_events (“Pointer events are DOM events that are

 fired for a pointing device. They are designed to create a single DOM event model to handle pointing input
 devices such as a mouse, pen/stylus or touch (such as one or more fingers).”).
 197 https://developer.mozilla.org/en-US/docs/Web/API/Element/keydown_event (“The keydown event is fired

 when a key is pressed.”).
 198 https://developer.mozilla.org/en-US/docs/Web/API/Element/click_event (“An element receives a click event

 when any of the following occurs • a pointing-device button (such as a mouse’s primary button) is both pressed
 and released while the pointer is located inside the element. • a touch gesture is performed on the element • the
 Space key or Enter key is pressed while the element is focused”).
 199
     https://developer.mozilla.org/en-US/docs/Web/API/Window/location (“The Window.location read-only
 property returns a Location object with information about the current location of the document. Though
 Window.location is a read-only Location object, you can also assign a string to it. This means that you can work
 with location as if it were a string in most cases: location = ‘http://www.example.com’ is a synonym of
 location.href         =       ‘http://www.example.com’.”)        TikTok           Pixel       source        code
 (https://analytics.tiktok.com/i18n/pixel/static/main.MWY1ZWZmZjM0MQ.js) uses window.location to
 intercept the URL of the webpage.


                                                        77
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24                Page 85 of 91 Page ID
                                               #:69121
                                       ATTORNEYS’ EYES ONLY


 URL, document.referrer 200 to intercept the referrer URL, and document.querySelectorAll 201 to

 intercept webpage content in JSON-LD, Meta, Microdata, and OpenGraph formats) while it is in-

 transit from the website visitor’s browser to the website’s server. Thus, TikTok Pixel’s event

 listeners assist with its interception of Content Information.

         142.




         143.     In addition, Mr. Schnell’s assertions that “[o]n a typical website page, by the time

 the TikTok Pixel receives any communication from the website visitor, it is only after the website

 has already first received that communication, stored it, processed it, and then used it to load the

 next page—only then allowing the Pixel to receive that information” 203 is based on an arbitrary

 and narrow conception of “communication” that departs from common definition of that term in

 the field of computer science.




 200 https://developer.mozilla.org/en-US/docs/Web/API/Document/referrer
                                                                           (“The Document.referrer property
 returns the URI of the page that linked to this page.”).
 201
      https://developer.mozilla.org/en-US/docs/Web/API/Document/querySelector (“The Document method
 querySelector() returns the first Element within the document that matches the specified selector, or group of
 selectors. If no matches are found, null is returned.”). TikTok Pixel source code
 (https://analytics.tiktok.com/i18n/pixel/static/main.MWY1ZWZmZjM0MQ.js) uses querySelectorAll to
 intercept content information such as JSON-LD.
 202 TIKTOK-BG-003050009 at -010 (emphasis added).

 203 Schnell Summary Judgment Report at ¶ 110.




                                                            78
Case 5:23-cv-00964-SB-E              Document 296-2 Filed 10/11/24                  Page 86 of 91 Page ID
                                               #:69122
                                       ATTORNEYS’ EYES ONLY


         144.     Mr. Schnell appears to define the unit of “communication” as a single packet of

 data sent from the website visitor’s web browser to the website. 204 However, in the context of web

 browsing, the fundamental unit of “communication” is more accurately and commonly defined as

 a web session, encompassing the entire sequence of interactions between the browser and the

 server, rather than isolating each individual HTTP “request” or “response” packet. 205,206 A web

 session represents the entire interaction between a website visitor’s web browser and a website,

 beginning when the web browser sends the first HTTP request to the website’s server and

 continuing through various HTTP requests/responses exchanged to fully load the web page. This

 series of HTTP request/response packets are needed to fully render the webpage in a user’s web

 browser. Put simply, each HTTP request/response packet is a part of a web session. 207

         145.     Mr. Schnell also offers no reasoned basis that he considers only data sent from

 website visitor to the website to be a “communication” while excluding data sent in the reverse

 direction—from the website to the web browser. 208 Again, in the common definition of

 “communication” as a session, all interactions or exchanges between the browser and website are

 considered “communications.” 209


 204
    Id. at 108-109; see also Schnell Class Certification Rebuttal Report at ¶ 122 (discussing communications in
 terms of transmission of “packets to the server computer,” “data contained in these packets” and the receipt of
 the packet by the host of the website).
 205 A typical HTTP session: https://http.dev/session.

 206 A typical HTTP session: https://developer.mozilla.org/en-US/docs/Web/HTTP/Session.

 207 Meiss, M., Duncan, J., Gonçalves, B., Ramasco, J.J. and Menczer, F., 2009, June. What’s in a session:

 tracking individual behavior on the web. In Proceedings of the 20th ACM conference on Hypertext and
 hypermedia (pp. 173-182); Shen, Z., Wei, J., Sundaresan, N. and Ma, K.L., 2012, October. Visual analysis of
 massive web session data. In IEEE symposium on large data analysis and visualization (LDAV) (pp. 65-72).
 IEEE.
 208 https://developer.mozilla.org/en-US/docs/Web/HTTP/Overview
                                                                        (“Clients and servers communicate by
 exchanging individual messages (as opposed to a stream of data). The messages sent by the client are called
 requests and the messages sent by the server as an answer are called responses.”).
 209 https://developer.mozilla.org/en-US/docs/Web/HTTP/Overview (“HTTP is a protocol for fetching resources

 such as HTML documents. It is the foundation of any data exchange on the Web and it is a client-server protocol,



                                                         79
Case 5:23-cv-00964-SB-E             Document 296-2 Filed 10/11/24                 Page 87 of 91 Page ID
                                              #:69123
                                      ATTORNEYS’ EYES ONLY


         146.    The figure below—reproduced from my Opening Class Certification Declaration—

 plots the timeseries of the transmissions from the web browser to servers when RiteAid’s website

 is loaded. The blue lines in this plot indicate the timing of the various HTTP request/response

 exchanges between a user’s web browser and servers. The red lines in this plot specifically indicate

 the timing of the HTTP request/response exchanges between a user’s web browser and TikTok’s

 server. The plot shows that TikTok Pixel’s interception of the contents of communications, such

 as the full-string URL and Content Information, occur contemporaneously during the loading of

 the webpage, not after its conclusion.




              Fig. 6: Timeseries of transmissions when RiteAid’s website is loaded
   (red lines represent the transmissions from the web browser to TikTok’s server that happen
                      contemporaneously during the loading of the webpage)

         147.    As discussed above in response to the Schnell Reconsideration Report, see supra

 at Sec. III.E, Mr. Schnell’s analysis of the timing of interception by Events API continues to ignore


 which means requests are initiated by the recipient, usually the Web browser. A complete document is typically
 constructed from resources such as text content, layout instructions, images, videos, scripts, and more.”).


                                                      80
Case 5:23-cv-00964-SB-E                Document 296-2 Filed 10/11/24           Page 88 of 91 Page ID
                                                 #:69124
                                         ATTORNEYS’ EYES ONLY


 the precise language in TikTok’s own documentation that I cited in both my Opening and Reply

 Class Certification Declarations: “it’s highly recommended to send the event in real-time

 (without batching) as soon as it is seen on the advertiser’s server” (emphasis in original). 210

 TikTok’s documentation makes it clear that the intercepted information is sent to TikTok’s server

 in “real-time” and “as soon as it is seen on the advertiser’s server.” TikTok also did not dispute

 that Defendants enable advertisers who use the Events API to send events in real-time. 211 Mr.

 Schnell seems to be conflating the time when TikTok intercepts the content with the time when

 the intercepted data is received by TikTok’s server. Regardless, the time differences between the

 two is small enough to be described as “real-time” by TikTok’s own documentation.

 V.      TIKTOK’S STORAGE AND RETENTION OF NON-TIKTOK USER DATA

         148.




 210 https://business-api.tiktok.com/portal/docs?rid=p41a33fdhon&id=1771100865818625 (JAE Ex. 70) (filed at

 Dkt. 266-7) (emphasis in original).
 211 See Dkt. 268-3 at Fact 41.

 212 TIKTOK-BG-000439076 at -076.




                                                    81
Case 5:23-cv-00964-SB-E            Document 296-2 Filed 10/11/24         Page 89 of 91 Page ID
                                             #:69125
                                     ATTORNEYS’ EYES ONLY




 VI.       TIKTOK’S USE OF NON-TIKTOK USER DATA

           151.   In my Opening Class Certification Declaration and Opening Report, I discussed

 TikTok’s usage of non-TikTok user data collected through the Pixel and Events API. 218

           152.




 213 TIKTOK-BG-003050820 at -822; see also TIKTOK-BG-000446088 at -088



 214 See, e.g., TIKTOK-BG-000297365, at -365 (“I




 215 TIKTOK-BG-000447655 at -655 (“



 216 TIKTOK-BG-000392758 at -758, 759


           see also TIKTOK-BG-000434851

 217 Id.

 218 See Shafiq Opening Report at ¶¶ 103-108.




                                                   82
Case 5:23-cv-00964-SB-E     Document 296-2 Filed 10/11/24   Page 90 of 91 Page ID
                                      #:69126
                              ATTORNEYS’ EYES ONLY




 219 TIKTOK-BG-000437740.




                                        83
Case 5:23-cv-00964-SB-E               Document 296-2 Filed 10/11/24           Page 91 of 91 Page ID
                                                #:69127
                                        ATTORNEYS’ EYES ONLY




         154.     I understand from counsel that the source code produced by TikTok did not include

 certain source code repositories that seem to be pertinent to TikTok’s use of data collected from

 TikTok Pixel and Events API, which includes non-TikTok user data. I understand that Plaintiffs

 have moved for relief from the court for this source code. I reserve the right to amend, modify, and

 supplement the opinions on TikTok’s usage of non-TikTok user data should new information, such

 as the aforementioned source code, become available to me.




 I declare under penalty of perjury under the laws of the United States of America that the foregoing

 is true and correct. Executed this 11th day of October 2024, in Davis, California.


                                                               _____________________________
                                                               Zubair, Shafiq, Ph.D.




 220 https://www.pangleglobal.com/.

 221 https://ads.tiktok.com/help/article/pangle-placement.

 222 TIKTOK-BG-000694663 at -668. I understand that this document was produced in Chinese, and I have been

 provided with a certified translation of the document.
 223 TIKTOK-BG-002119116 at -117.




                                                          84
